                Case:
ILND 450 (Rev. 10/13)     1:18-cv-06204
                      Judgment in a Civil Action   Document #: 8 Filed: 09/17/18 Page 1 of 1 PageID #:104

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

KORTEZ LAMONT BLACKMON,

Plaintiff(s),
                                                                   Case No. 18 CV 6204
v.                                                                 Judge Ronald A. Guzman

BMJ INVESTMENT GROUP c/o
BRIAN PLOSZAK, et al.,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


               other: Plaintiff’s motion for leave to proceed in forma pauperis [4] is denied, and this action is
dismissed for lack of federal jurisdiction.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Ronald A. Guzman on a motion.



Date: 9/17/2018                                                 Thomas G. Bruton, Clerk of Court

                                                                s/Imelda Saccomonto , Deputy Clerk
